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                                      Department of Energy
                                         Washinglon,DC20585




            Mr. J. C. Oeddens
            SeniorVice President
            RiverBend NuclearGroup
            Gulf StatesUtilitiesCompany
            P.O.Box 2951
            Beaumont,TX
            Attn:Mr. J. J. Psultt,Manager-Business
            Systems,MA-3.

            Dear Mr. Deddens:

            The Standard.Contractfor Disposalof SpentNuclea~...Fuel. ~nd/orHioh-Level
            Radioactive Waste(10 CFR Part 961) providesthat, beginningJanuaryI, Ig92,
            Purchasersshall submit to the Departmentof Energy (Department)Delivery
            ConunitmentSchedules(DCS).The DCS providesthe Purchaserwith the opportunity
            to informthe Departmentof plansregardingits allocationof projectedFederal
            waste acceptancecapacity.This informationwill assist the Departmentin
            meetingits contractualwasteacceptance responsibilities
                                                                 and in the development
            of the Federalwastemanagement system(FWMS).
            The allocationsin the 1991 AnnualCapacityReport(ACR) shouldbe the basis
            for the DCS submittals.An allocationis a specifiedacceptancecapacity
            (measuredin metrictons of uranium)in a particularyear for an individual
            Purchaser.The 1991 AcceptancePriorityRankinghas been used as the basisfor
            the allocationof wasteacceptance capacityto specificPurchasersin the Iggl
            ACR. Thesereportshave been recentlyissuedby the Departmentand sentto all
            Purchasers.Oncea Purchaserhas an allocation, any equivalentquantityof spent
            nuclearfuel (SNF)ownedby the Purchasercan be designated  for deliverywithin
            the limitsof thatallocation. A Purchasermay submitDCSs for as manyof their
            allocationsas theychoose,throughout the 10 year periodidentifiedin the ACR.
            The Departmentrequeststhat the PurchaserssubmitDCSs for as many allocations
            as possibleto assistin the Department’s  planningof the FICHS.The enclosed
            DCS instructionsare intendedto assistthe Purchaserin completingthe DCS.

            The StandardContractprovidesthat PurchasersshallsubmitDCSs to DOE at least
            63 monthspriorto delivery.The Departmentrecognizesthatboththe Purchaser’s
            and Department’s abilityto con~itto a specificdeliverydate over 63 months
            in the futureis limited.Therefore,the Department
                                                           suggeststhatthe Purchasers
            designateonlythe yearof deliveryon the DC$.The actualdate of deliverywill
            be proposedby the Purchasersin their FinalDeliverySchedulesubmittal.Two
            entrieswere added to the DCS form,identificationnumberand contactperson,
            to allow the Departmentto con~unicatemore effectivelywith the Purchaser
            concerningtheirDCS submittal.

            Aftera DCS has been approved,
                                        Purchasers may eitheruse theDCSas the reference
            documentfor submittalof the Final DeliverySchedule,which is required12
            months)riotto delivery,or use the DCS as th~ basisfor .exchangeswith other


                                                                                 HQ0002187




.........                                           1      .....               HQIS,-001-2188
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Purchasers.
         Specificguidelines
                         forsubmissionof exchange
                                                requests
                                                       areunder
dcvelopment,,but
            willnothav~an impact
                               on thesubmission.of
                                                DCSsforapproval.
TheenclosedOCSformwillbe submitted
                                 to theOfficeof.ManagementandBudget
(OMB)forapproval shertly.
                        TheDepartment
                                    willtransmitto thePurchasers
                                                               the
OMBapproved~CSformas soonas possible.
If you haveany questions
                       concerning
                                theseinstructions,
                                                 pleasecontactNick
Grahamof my staffon (202)586-9634
                                or AlanBrownsteinof the Department’s
Officeof CivilianRadioactive
                          WasteManagement
                                        on (202)586-4973,



                         M, Detmer
                         CentractingOfFicer
                         Officeof Placement
                                          and
                           Administration
Enclosure




                                                               HQ0002"f88



                                  2
                                                              HQR-001-2189
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                          Department of Energy
                             Washington,DC20585




Dr. SimonT. Hsieh
Supervisor,NuclearFuel Cycle
DetroitEdisonCompany
6400 ~. DixieHighway
Newport,MI 48166

Dear Mr. Smart:

The St~nderdContractfor ~i~posalof So~nt ~uclea~ Fue~ and/or Hiqh-Level
RadioactiveWaste(|0 CFR Part g61) providesthat,beginnlngJanuaryi, XggZ,
Purchasersshall submit to the Departmentof Energy (Department)Delivery
CommitmentSchedules(DCS).The DCS providesthe Purchaserwith the opportunity
to informthe Departmentof plansregardingits allocation
                                                     of projectedFederal
waste acceptancecapacity.This informationwill assist the Departmentin
meetingits cbntractual
                     wasteacceptance responsibilities
                                                    and in the development
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                                                          quantityoF spent
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the limitsof thatallocation. A Purchasermay submitDCSsfor as" manyof their
allocationsas theychoose,throughout the 10 yearperiodidentified in the ACR.
The Departmentrequeststhat the PurchaserssubmitDCSs for as many allocations
as possibleto assistin the Department’splanningoF the FWHS.The enclosed
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The StandardContractprovidesthatPurchasers shallsubmitDCSsto DOE at least
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                                        recognizes that boththe Purchaser’s
and Department’s abilityto committo a specificdeliverydate over 63 months
in the futureis limited.Therefore,the Departmentsuggeststhatthe Purchasers
designateonlythe yearof deliveryon the DCS. The actualdateof deliverywill
be proposedby the Purchasersin theirFinalDeliverySchedulesubmittal.Two
entrieswere addedto the DCS form,identification  numberand contactperson,
to allow the Departmentto communicatemore effectivelywith the Purchaser
concerningtheirDCS submittal.
Aftera DCS has beenapproved,Purchasersmay eitheruse the DCS as the reference
documentfor submittalof the Final DeliverySchedule,which is requiredI2
monthspriorto delivery,or use the DCS as the basisfor exchaogeswith other
Purchasers. Specificguidelinesfor submissionof. exchangerequestsare under
development,but willnot havean impacton the submissionof DCSsfor approval.


                                                                     HQO002101



                                     3                             HQR:O01-2102
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The enclosedDCS form will be submitted~o the O£fi~eof Managementand Budget
(OMB)for approvalshortly,The Departmentwill transmitto the Purchasersthe
OMB approvedDCS form as soon as possible¯

If you ,have any questionsconcerningthe~einstructions,pleasecontactNick
Grahamof my staff on (202) 586-9634or Alan Br~wnsteinof the Department’s
Officeof CivilianRadioactive WasteManagementon (202)5B6-4973.



                           M. Detmer
                           ContractingOfficer
                           Officeof .Placement
                                             and
                             Administration

Enclosure




                                                                     HQ0002102




                                     4                              HQR-001-2103
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             UNITED STATES
        COURT OF FEDERAL CLA~S

     YAIqKEE ATOMIC ELECTRIC

     COMPANY,      CONNECTICUT    YANKEE               Case

     ATOMIC   POWER COMPANY,       and MAINE           98-!26C

     YANKEE ATOMIC      POWER COMPANY,                 98-154C

                       Plaintiffs,                     98-474C

              V.

     THE UNITED STATES,

                       Defendant.




    Pages:         3378 through     3660

    Place:         Washington,     D.C

    Date:          August   2, 2004


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                                                                                    3455

       office       in its waste    acceptance       function?

   2           A       Essentially,       it gives us guidance          to -- in

   3    terms of what the receipt            rate of the system            would   be.

   4   It also gives         various     policy    guidance    to the program

   5   as a whole.

   6           ’Q       Is your office responsible            for the

   7   preparation       of this document?

   8           A        I -- yes. I manage          changes    to this.      ;End I

   9   basically       do that for the director          of the program.

  i0           Q       Could we go to page 15 of this document,

  Ii   please.       ~. Kouts,     are    you familiar        with   the

  12   centralized       interim    storage       facility    mentioned      on this

  13   page?

  14           A

  15           Q       How are you familiar          with that facility?

  16           A       As I mentioned,       when I went       through      my

  17   history      within   the program,         I was responsible         for

  18   developing      the design        of a centralized       interim      storage

  19   facility      that essentially        met these       requirements.

  2O           Q       What type of facility           did DOE plan to build

  21   as the centralized          interim    storage    facility?

  22           A       It was a, essentially          a canister      handling

  23   facility      that could meet the ram.D-up             rates identified

  24   in -- in table 3 here.

  25           Q       Okay.    And the rates        in table    3, do you have
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                                                                                            3457

       1                 THE   COURT:    Okay.     Go forward.

    .2                   MS. SULLIVAN:         Thank    you, Your       Honor.

       3   BY MS. SULLIVAN :

                 Q " Mr. Kouts,         what    was -- do you have           an

           Understanding       what the source          of the rates       were for

           ihe facilities      that    were set forth          in this     document?

       7         A    Yes.

                        ~d what       was your    understanding?

                         There were several            bills    that were winding

    i0      their way through         Congress    that would have directed

           the Department,       should    they have been passed,                to

           ~deploy    a facility      to essentially       begin to take

           materials    from utilities          for storage         purposes.

                        These    ramp-up    rates       were basically          rates

    15      that were contained         in those bills.

    16          Q        I’m   sorry.     Let    me just       clarify.     You       say

    17      bills    were pending       in the Department.             Did you mean

    18      bills pending in Congress?

    19          A        sills pending      in Congress.

    2O          Q       ~md did you have an understanding                   as to what

           the legislation       called    for, generally?

    22           A       The -- the legislation             went through         a

    23     variety    of mutations.        The initial          form    of the

           legislation       was for the D~partment             to build    a --       an

           interim    ssorage    facility       or centralized          interim




 . .                Heritag6    Reporting       Corpora        on                                  ~.
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  !    storage       facility     at, potentially’in          Nevada,    next to

  2    where       the Yucca     Mountain    Site is right        now. And there

       were also other          options     in terms    of where       that

  4    facility       could     be deployed~

  5            Q        How was the centralized           interim      storage

       facility       different     from the MRS designed           by DOE in the

  7    early       ’80s -- in the 1980s and early ’90s?

  8            A        In the mid-’80s,       we were looking          at a

       facility       that    had a great     deal     more    capability.       It

 I0    was one that basically             had packaging        capability      that

 ii    would       essentially     do some of the packaging             that a

 12    repository       t~ica!ly     would    have     done.

 13                    It also had rod consolidation."                 It also    had

 a
 _
 !     the flexibility          to develop     disposal-ready          canisters

 15    for any of the three           sites that       we were considering            at

       that time,       which were the basalt           site in Hanford,

 17    Washington,       the tuff site, t-u-f-f,              volcanic    tuff site

 18    in Nevada,       and also the Deaf Smith           bedded       salt site in

       Texas.

 2O            Q       Was the facility,        the centralized          interim

 21    storage       facility     set forth    on this page ever

 22    constructed?

 23         A          No, it was not.

 2~.           Q       Why not?

 25            A       The legislation        was never       passed    and the
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                                                                                                  3459   ¯   -

             1   Department     never received           any authorizations       to

             2   proceed on it.

                        Q       Could there be a similar            congressional

                 initiative     today    that would allow          or mandate

             5   acceptance     of spent nuclear           fuel prior    to 20107

             6          A       If Congress          passed   that legislation,        then

             7   the Department        would be authorized          to implement       it,

             8   yes.

             9          Q       "Are you aware of the spent nuclear fuel

            I0   storage     issue    that arose in connection           with the N~C’s

            Ii   budget     last year?

            12          A       Yes, I am.

            13          Q      ~md what was the initiative              discussed       in

            14   that budget     submission?

            15          A       I belisve       there was a set amount        of funds

            16   that was supposed           to be distributed       from the Nuclear

            17   Regulatory     Commission       budget       to the National     Academy

            18   of Sciences,        where    they    were to undertake     a study          to

            19   look at the -- the safety,              if you will,     of fuel that’s

           20    currently     stored    in spent       fuel pools,     at reactors,          and

            21   also that’s     in dry storage          at reactor     sites,    and to

           22    provide    the Academy’s        views    on the safety     of both

           23    t_vpes of storage mechanisms.

           24           Q      Do you have an understanding              as to what

           25    initiatives     could       result    from this study?




:" ..:                  Heritige [.Reportin-g C0r~orat~on-
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     1            A               There          have    been        varlou~        considerations              on

     2    Capitol           Hill       as    to    initiatives               that        would        use    Homeland

     3    Security           funds          to    essentially               fund        the    reactors        to    put

          their        --    the       pool       --     the    materials               that     they’re       now

     5    managing           in    the       pools,           the    high-level               waste     materials,

     6    the    spent        fuel          into        dry    storage           casks,        and     undertake

     7    that     initiative.

     8             Q              Mr.       Kouts,       are        you    familiar           with     the

     9    material           known          as    Greater           Than     Class           C radioactive

    10    waste?

    ll            A           Yes.

    12                        Do       you       understand               that     GTCC       radioactive

    13   waste         is    generated             by     commercial              nuclear         utilities?

    14            A           Yes.

    15            Q               Is    GTCC       radioactive              waste        one     of    the    waste

    16   materials            that          DOE    will        accept        pursuant            to    the

    17    standard           contract?

    18            A           No.

    19            Q               Is    DOE       designing           the        repository           to accept

    20   GTCC     radioactive                    waste        generated            by    commercial           nuclear

    21   facilities?

    22            A           Nor       it       is not.

    23            Q               Could          DOE    accept        GTCC        radioactive           waste       at

    24    the    repository?

    25            A               Theoretically                 it    could.            It    would     require,         I
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                                                                                                                               3474

        !                   Q              And     this       is    the     actual      -- actually            the

        2       current              version,           the    revision           5 is       the    --   is    that       the

     -3         current              actual        planning           document          that       the   program          ms

        4       working              Off    of?

        5   "     "     A                  DCN 5; that’s              correct,         yes.

        6               Q                  Now,     in    your       testimony,             there    was      a brief

        7       reference              to     the       possibility              of legislation               by

        8       Congress              that        could       have     an      effect        on    the   2010       start

        9       date.           Do    you     recall          discusslng              that?

    i0                  A                  In my testimony?

     II           ~     Q       -     Today.

     12                 A              This        morning?

                                       Xeah.

    14                  A ~ .I              believe           I was       asked       by     Ms.    Sullivan         a

    15          question              about        whether          Congress          would        consider         similar

    16          legislation                 or     could       consider           similar          legislation            to

   ¯ 17     what        they           considered              in    the       mid-’90s.            My   sense       is

    18      .Congress                 can     do    what       they       want    to       do.

    19                  Q                  Did     you    mean       to imply          by    that    that      it’s

    2O      possible                  that        DOE     could       accept       spent          nuclear      fuel       from

   21           commercial                 reactors           prior       to    2010        if    Congress         passes

    22          some    legislation?

    "23                 A                  Depending           on    what       the    legislation            is and

    24      what        it           directs,           that’s       certainly             a possibility.

    25                  Q                  That    is a possibility?
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                        .You did mean to-imply          that?

                         I believe       I responded    io a question         from

     4 counsel, and I -- I don’t know whethe~ or not
     5    implied it or not.             I answered    the question      that

     6    counsel asked.

                 Q        I’m asking you now whether            you meant to

         imply       that DOE, if Congress         passes    some kind of

     9   legislation          -- we’ll    get to that in a moment            --

    I0   Department       of Energy       could   -- did you mean to testify

    II   that NO~ Could          accept    commercial     spent    nuclear     fuel

    12   from commercial          reactors.pri~r       to 20107

    13           A        As I said earlier,        depends     on what that

    14   legislation          directed.    If it provided         certain     relief

    15   from various          aspects    of procedural      considerations          from

    16    the N-RC, from NEPA and so forth, then, yes, that’s

    17   certainly      possible.

    18           Q        When would that be that DOE would be able to

    19   accept      that fuel prior        to 20107

    20           A        Again, you have to be clear as to what the

    21   specifics       of the legislation         were,    what they       were

    22   asking,       what    specifics    that   they     required.       It’s

    23   difficu!~       for me to answer         your question      unless        you’re

    24   a little       bit more specific         in terms    of specific

    25    directions      from Congress.
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                                                                                         ~476

      1           Q       Let’s    say you drafted        the dream     legisl~tion

          yourself,       whatever     you -- when would DOE prior               to 2010

          be able eo accept           commercial       spen5 nuclear     fuel?

                  A        I don’t have dreams -=bout              legislation.     My

          sense       is that,    if you wanted        to expedite    the receipt

          of materials          from commercial        reaceors.    I would noc

      7   avoid the licensing             process,     primarily    because      ! think

      8   that gives a perspective              to the public,       and there      is a

          technical       review    that needs        to be done.

     i0                   in terms of the simplicity              of the facility,

     I!   if it was just to store fuel                 only, I think     one of

     12   those facilieies           could be built relatively           rapidly.

     13   So I think       construction       could     be done very quickly.

     14                   Again,    we get to the National           Environmental

     15   Policy       Act issues.     And depending           on whether    Congress

     16   would       address    those,    I think     you could,    after    a review

     17   by the Nuclear          Regulatory        Commission,    deploy    a

     18   facility       fairly    rapidly.

     19           Q        How likely is relief from review by the

     2O   Nuclear       Regulatory    Commission        over    a facility    operated

     21   by DOE for the storage             of spent     fuel?

     22           A        I didn’t       suggest    in my quote-unquote         dream

     23   legislation       that there       would not be NRC review.

                  Q        There would be NRC review?

     25           A       Yes.
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              UNITED STATES
         COURT OF FEDERAL CLAIMS


     YANKEE   ATOMIC    ELECTRIC     COMPANY,

     CONNECTICUT      YANKEE     ATOMIC    PO~R         Case Nos.:

     COMPA/~-Y,     and ~INE YANKEE ATOMIC              9S-126C

     POWER COMPANY,                                     98-1S4C

                       Plaintiffs,                      98-474C

              V.

     THE UNITED     STATES,

                       Defendant.




     Pages:        4365 through     4613

     Place:        Washington,     D.C

     Date:         August   10, 2004


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                                   Gfficial Reporters
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                                                                                       4730

    l             A         Yes, i do.

    2             Q         Can we go back to page ! of this document,

    3,    that    first    paragraph       again?    Mr. Milner~     in that

    4    paragraph        there’s    a reference       to report    to Congress       on

    5     reassessment       of the Civilian         Radioactive     Waste

    6    Management        Program    issued    by the Secretary         of Energy

    7    in November        of 1989.

    8             A         Yes.

    9             Q         Do you recall      that reassessment?

   i0             A         Yes, I do.

   II             Q         Do you recall      what    the result       of that

   12    reassessment        was?

   13             A         I think    principal      resu!£     of that

   14    reassessment        was the repository          would    not be able to

   15    be opened       until     the your 2010.

   16             Q         Okay.    As a result       of that    reassessment,

   17    was there       a date by which       the MRS was to be opened?

   18             A        1998.

   19             Q         Can we go to pages          4 and 5? Could        I ask

   20    you to read        the highlighted         sentences    into   the record?

   21             A         The TSLCC      estimates    presented       in this

   22    report       are updated     estimates      from   the May 1989 TSLCC

   23    analysis       which    reflect    the changee      in the system

   24    outlined      in the secretary’s           reassessment     of the Waste

   25    Management        Program.    As such,      these     estimates     are



                      Heritage.Reporting        Corporation
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                                                                                        4737

         annual       receiving     capacity    of the waste management

         system       and the annual        acceptance    ranking    of contract

         holders      for ten years following            projected    commencement

         of facility        operations.        The information       in the ACR is

         for planning        pu~-poses      only and is scheduled        to be

         replaced       as required     by the contract       by a

         contractually        binding       annual   acceptance     priority

         ranking      report on April 1991.

    9             Q         Thank    you.    Mr. Milner,     does    that   excerpt

  I0     that you just read comport              with your recollection

  ii     regarding       the issuance       of the 1991 ACR?

  12            A           Yes, it does.

  13                        Can we have Defendant’s          Exhibit    23,

  14     please?      Mr.   Milner,     do you recognize       Defendant’s

  15     Exhibit 23?

  16            A           Yes, I do.

  17            Q           Would you identify          it for the Court,

  18    please?

  19            A           It was my action         memorandum     to the

  2O    director,       Dr. Bartlett,         s~eking    his approval       for

  21    issuing       the 1991 ACR.

  22            Q           At the time      you prepared     this memo,          did

  23    you believe         that MRS could       still    be sited    so that DOE

  24    could   accept       spent    fuel beginning       in 19987

  25            A           Yes, at that time.
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                                                                                         4738

    1             Q           At the time      you prepared     this memo, were

    2     you responsible            for MRS siting    activities?

                     A        Yes.

                              A/id approximately       at the time of this

    5    memo,       approximately       how much time did you devote              to

    6    ~S siting          activities?

    7             A           Oh, probably       something   like 30 or

         40 percent          of my time.

                  Q           Can we highlight       the second       paragraph     in

   i0    the background,             please?   We haven’t     highlighted      that,

   Ii    but could you read the portion                that’s   been blown         up

         into the record?

   13             A           The 1990 AC~ stated       that it would        be the

   !4    last ACR to be issued             and would    be replaced       by the

   15    acceptance          priority   ranking,     parentheses      APR.

         However,         based on discussions        with contract       holders

   17    and their representatives,               the department        elected     to

   18    continue          to publish    the ACR.    This    change    in plans      was

   19    conveyed         to contractholders       in a May 15, 1991 from --

  20     letter       from the department’s         contracting       officer.

  21              Q           Thank you.

  22                          Mr. Milner,      does that sentence        accord     with

  23     your recollection            of DOE’s    decision    regarding      the

  24     issuance         of the 1991 AC~?

  25             A           Yes, it does.



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